






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00158-CR






Chester Stokes, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 2033744, HONORABLE JON N. WISSER, JUDGE PRESIDING






O R D E R


PER CURIAM

The reporter's record was originally due to be filed on April 12, 2004.  The court
reporter previously informed the Court that the record would be completed by May 14, 2004.  The
record has not been received.

The court reporter for the 299th District Court, Mr. Leon Justice, is ordered to file the
reporter's record no later than July 16, 2004.  No further extension of time will be granted.  See Tex.
R. App. P. 37.3(a)(2).

It is ordered June 7, 2004.


Before Justices Kidd, B. A. Smith and Pemberton

Do Not Publish


